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     NOT FOR PUBLICATION

     UNITED STATES DISTRICT COURT
     DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,
                                                   Criminal Action No. 95-cr-70 (JLL)
                    Plaintiff,

V.                                                 OPINION

JORGE LUIS PACHECO,

                   Defendant



     LINARES, District Judge.

             This matter comes before the Court on Defendant’s Motion for Sentence Reduction

     (ECF No. 49 (“Def.’s Mot.”)) pursuant to 18 U.S.C. § 3582 and U.S.S.C. Retroactive

     Amendment 782 (“Amendment 782”).            For the reasons set forth below, Defendant’s

     Motion for Sentence Reduction is granted.

        I.      PROCEDURAL BACKGROUND

             On August 1, 1995, Defendant Jorge Luis Pacheco (a.k.a. Cipriano Montano

     Torres) was convicted after a jury trial of four charges for his role in a drug-related

     kidnapping and conspiracy to distribute cocaine. (Gov’t Opp’n at 1-2; Def.’s Mot. at 1.)

     Defendant’s original offense level under the United States Sentencing Guidelines

     (“U.S.S.G.” or “Guidelines”) was 40. (Sentencing Hr’g Tr. (Feb. 16, 1996) at 67:1.) His

     criminal history category was I. (Id. at 67:1-2.) These levels resulted in a mandatory

     Guidelines range of 292 to 365 months. (Id. at 2; Def.’s Reply at 1.) After noting the

     tragedy and seriousness of the offenses, Judge Barry sentenced Mr. Pacheco to 292 months

     for all four counts to be served concurrently. (Gov’t Opp’n at 6-7; Sentencing Hr’g Tr. at
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94:12-18.) Although 292 months was the bottom of the Guidelines range, Judge Barry

acknowledged that the length of the sentence was a strong sentence that would “send a

message that this conduct will not be tolerated.” (Sentencing Hr’g Tr. at 92:9-13.) Mr.

Pacheco was thirty-three at the time of his sentencing. (See id. at 74:2-3.) To date, he has

served 248 months of his original sentence. (Def.’s Reply at 2.)

            On November 1, 2014, Amendment 782 was enacted, reducing the offense levels

assigned to most drug quantities under U.S.S.G.           § 2D1.1(c) by two levels.       The

Amendment is retroactive, effective November 1, 2015. 18 U.S.C. § 3582(c)(2); U.S.S.G.

§ 1 B I 10. Here, the Government agrees “that Defendant is eligible for a sentencing
        .




reduction.” (Gov’t Opp’n at 12.) Thus, Amendment 782 lowers Defendant’s offense level

to 38 from 40, and his amended Guideline range is correspondingly reduced to 235 to 293

months. (Def.’s Mot. at 3-6.)

            Defendant asks for his sentence to be reduced to the bottom of the amended range-—

235 months.        (Def.’s Mot. at 1.)    The Government, on the other hand, argues that

Defendant’s sentence should not be reduced because of public safety issues given his

original criminal conduct, his refusal to accept full responsibility for the kidnapping

charges, and his lack of candor in his letter filed in support of his motion for a sentence

reduction. (Gov’t Opp’n at 19-20.)

   IL          FACTUAL BACKGROUND

            Defendant was a member of a drug conspiracy distributing cocaine from Colombia

to New York by way of Texas that ultimately resulted in the kidnapping of a drug associate

and his family. (Govt’s Opp’n at 2-6.) Defendant and his co-conspirators held the drug

associate, his wife, and their four children hostage from December 28, 1994 to December



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31, 1994. (Id. at 4.) During the period of captivity, the hostages were threatened with

personal harm as well as harm to their family in Colombia. (Id. at 4-5.) A SWAT team

eventually raided the location and Defendant and his co-conspirators were arrested. (Id. at

6.)

       The ringleader of this group, Omar Torres-Montalvo (Id. at 2), was also sentenced

by Judge Barry on February 16, 1996, to “be imprisoned for the remainder of his natural

life” (Sentencing Hr’g Tr. at 93:9-15). Mr. Torres-Montalvo was in his 20s when he was

originally sentenced (No. 95-70, Torres-Montalvo Op., ECF No. 44, at 5.), and his original

mandatory Guidelines sentence was life imprisonment (No. 95-70, Torres-Montalvo,

Def.’s Reply, ECF No. 43, at 1). Upon application for a sentence reduction by Mr. Torres

Montalvo, and after weighing the seriousness of his original conduct, his post-conviction

conduct (including a recent incident of fighting), and questions regarding his identity

against his overall good behavior in his twenty years in prison, the reduced likelihood of

recidivism given his age, and his expected detainer by Customs for deportation upon

release, this Court granted a sentence reduction to 600 months from life imprisonment.

(No. 95-70, Torres-Montalvo Op., ECF No. 44, at 9.)

       Here, there are similarities with Mr. Torres-Montalvo’s sentence reduction

application and Mr. Pacheco’s. Both Mr. Torres-Montalvo and Mr. Pacheco were involved

in the same extremely serious and violent original conduct, they both have served over

twenty years in prison, they are both expected to be at an age indicating a lower likely rate

of recidivism upon release, they both earned their GEDs and became proficient in English

and completed other programs while in custody, and they are both subject to an

immigration detainer upon release. Mr. Pacheco also has maintained consistent



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employment and repaid his $5,000 fine. (Def.’s Mot. at 11 and Ex. B.) Unlike Mr. Torres

Montalvo, Mr. Pacheco was not the “ring-leader” of the conduct, and has an almost

unblemished post-conviction record, with no violent infractions. (Def.’s Reply at 2.) In

fact, according to Bureau of Prison records, Mr. Pacheco is tentatively scheduled for “Good

Conduct Time Release” on March 15, 2016. (Def.’s Mot., Ex. B at “PP44” (dated Feb. 17,

2015).) Finally, although Mr. Pacheco generally takes responsibility for his criminal acts,

he does not take responsibility related to the kidnapping charges. (See Def.’s Mot., Ex. A.,

Pacheco Ltr. at 2.)

   III.    LEGAL STANDARD

   Amendment 782 “reduces by two levels the offense levels assigned to the quantities

that trigger the statutory mandatory minimum penalties.” U.S.S.G. Manual Amendment

782 (U.S. Sentencing Comm’n 2014). The amendment was passed to reflect the Sentencing

Commission’s finding that “setting the base offense levels slightly above the mandatory

minimum penalties is no longer necessary to achieve its stated purpose,” and “was also

motivated by the significant overcapacity and costs of the Federal Bureau of Prisons,” as

the amendment is expected to help alleviate prison crowding issues. Id. A defendant is

eligible for a sentence reduction under Amendment 782 if the previously calculated

Guideline range is lowered by a reduction of their offense level, and they were not

sentenced at or below the bottom of the now-amended Guidelines range before. Id. When

a defendant is eligible for a sentence reduction pursuant to Amendment 782, “the court

may reduce the term of imprisonment, after considering the factors set forth in section

3553(a) to the extent that they are applicable, if such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.
                                                                                          §


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3 582(c)(2) (2012). While courts may reduce sentences pursuant to these provisions, a court

is not required to do so. See United States v. Styer, 573 F.3d 151, 152-53 (denial of

reduction within court’s discretion where original sentence was 180 months pursuant to a

range of 151-188 months, and the amended range was 121-151 months).

       Section 1B1 .10 is the Guidelines policy statement which implements 18 U.S.C.
                                                                                         §
3582(c)(2), and the commentary accompanying the policy statement directs the court to

consider the following factors when a sentence reduction is requested: (i) the factors set

forth in 18 U.S.C. § 3553(a); (ii) public safety considerations; and (iii) post-sentencing

conduct. U.S.S.G. Manual § IB1.10 cmt. IB(i)-(iii) (U.S. Sentencing Comm’n 2014).

Section 3553(a) states that the court “shall impose a sentence sufficient, but not greater

than necessary,” and directs the court to consider the following factors in tailoring an

appropriate sentence:

       (I) the nature and circumstances of the offense and the history and
       characteristics of the defendant;
       (2) the need for the sentence imposed to reflect the seriousness of the
       offense, to promote respect for the law, and to provide just punishment for
       the offense;
       (3) the need for the sentence imposed to afford adequate deterrence to
       criminal conduct;
       (4) the need for the sentence imposed to protect the public from further
       crimes of the defendant;
       (5) the need for the sentence imposed to provide the defendant with needed
       educational or vocational training, medical care, or other correctional
       treatment in the most effective manner;
       (6) the kinds of sentences available;
       (7) the kinds of sentence and the sentencing range established for the
       applicable category of offense committed by the applicable category of
       defendant as set forth in the guidelines;
       (8) any pertinent policy statement;
       (9) the need to avoid unwarranted sentence disparities among defendants
       with similar records who have been found guilty of similar conduct; and
       (10) the need to provide restitution to any victims of the offense.




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    IV.      ANALYSIS

          The primary arguments of the Government in opposing any reduction for Mr.

Pacheco relate to the serious nature of the original conduct, and what the Government

deems a lack candor (untruthfulness) in Mr. Pacheco’s letter to the Court. With respect to

the original conduct, the Government argues:

          This was not an ordinary drug distribution conspiracy, and Defendant was not a
          mid-level player. Defendant was the “right-hand man” to Torres-Montalvo, the
          leader of a large-scale cocaine distribution ring, and they resorted to kidnapping to
          further their objectives. The fact that Defendant’s conduct—and the resultant
          sentence imposed—went beyond drug distribution was made plain by Judge Barry
          shortly before imposing sentence on Defendant: “unfortunately, all a judge can do
          when confronted with this amount of drugs, and these violent crimes, is to impose
          strong sentences, to punish to be sure, but also to send a message that this conduct
          will not be tolerated.”

(Gov’t Opp’n at 15 (citations omitted).) Mr. Pacheco chose not to speak on his behalf at

his original sentencing. (Sentencing Hr’g Tr. at 74:23-25.) This Court is not bound by

Judge Barry’s original assessment as expressed above in evaluating whether a reduction at

this time is appropriate, but the Court does note that what Judge Barry was confronted with

given the above described circumstances was a Guidelines range of 292 to 365 months,

and she chose a sentence at the bottom of that range.

          This Court agrees with the Government that Mr. Pacheco’s original conduct as

convicted was reprehensible. However, in evaluating the continuing public safety risk

posed by Mr. Pacheco, the Court also notes he had a criminal history category of I at that

time.’ He has served 248 months in prison to date with less than a handful of minor

infractions, none of which involve violent behavior. (See Def.’s Mot., Ex. B.) He is


‘The Court recognizes that Mi. Pacheco came to this country illegally from Columbia (see
Sentencing Hr’g Tr. at 92: 18-20), so his criminal record in the United States may not be
reflective of his complete criminal history. Nevertheless, before the Court at age 33 when
he was sentenced, he had a criminal history category of I.

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currently 53 years old. (Id.) He has taken advantage of numerous prison programs, been

employed, and repaid his fine. And, upon release, he will be subject to an immigration

detainer. For these reasons, the Court disagrees that the nature of the original conduct

alone demonstrates a continued public safety risk justifying no reduction whatsoever.

        On the other hand, the Court does recognize that Mr. Pacheco refuses to take

responsibility for the full extent of his criminal conduct, in particular he fails to

acknowledge the seriousness of the kidnapping charges for which he was found guilty. His

submissions also reflect some lack of candor with the Court. To the extent that the

Government suggests the lack of candor is untruthfulness, the Court finds it unnecessary

to make such a characterization. It is sufficient to note that Mr. Pacheco suggests that he is

experiencing severe medical issues and that he is “slowly dying.” (See Def.’s Mot., Ex. A.)

The records submitted in Defendant’s reply, which indicate some potential health issues,

do not support the dramatic characterization made by Mr. Pacheco. (See Def. Reply.) Also,

Defendant submitted numerous character letters of support. (See Def. ‘S Mot., Ex. C.) Most

of the letters, however, are almost verbatim form letters from alleged relatives and friends

in Colombia. (Id.) From most of these letters it is impossible to understand how long these

people have known Mr. Pacheco, whether they have a personal basis for their statements

(aside from the mere fact of relation or past friendship), andJor whether they have had any

communication with him in his twenty plus years in prison in the United States. For

example, many of the letters state: “He is and has been the support system of the family.”

(Id.) Such letters do little to support Mr. Pacheco ‘s cause given the lack of real substance

or context for such statements.




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        Section 1 B 1.10 directs the Court to impose a sentence based on public safety

considerations, post-sentencing conduct, and the factors in § 3 553(a). U.S. Sentencing

Guidelines Manual § 1B1.10 cmt. 1B(i)-(iii) (U.S. Sentencing Comm’n 2014). A proper

sentence is to be “sufficient, but not greater than necessary,” to achieve the stated goals of

deterrence, justice, and rehabilitation. 18 U.S.C. § 3553(a) (2012). With these policies in

mind, and for the reasons discussed above, the Court finds that a sentence reduction for

Mr. Pacheco is proper here, though it denies Defendant’s request for a 235-month sentence.

The Court finds that a new sentence of 260 months to be served concurrently for all counts

is a strong sentence reflecting the severity of the crimes committed and best serves the

policy goals underlying Amendment 782 and the related statutes.

        Counsel for Mr. Pacheco has indicated that it is unknown how this reduction will

affect the Bureau of Prisons’ calculation of Mr. Pacheco’s “Good Conduct” time and his

current projected release date. (See Def.’s Reply at 2.) The Court does not make any ruling

with respect to application of Mr. Pacheco’s good conduct time, leaving the Bureau of

Prisons to apply the good conduct time in its discretion and as is appropriate given Mr.

Pacheco’s new sentence of 260 months.

   V.      CONCLUSION

        For the reasons set forth above, Defendant’s Motion for Sentence Reduction (ECF

No. 49) is granted. Defendant’s sentence is reduced from 292 months to 260 months to be

served concurrently on all counts. Pursuant to Amendment 782, the order reducing

Defendant’s sentence does not become effective until November 1, 2015. An appropriate

Order accompanies this Opinion.




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DATED: September, 2015


                                        JOSL LINARES
                                        U.S. DISTRICT JUDGE




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